'½.AO 442     (Rev. 10/03) Warrant for Arrest


                                           UNITED STATES DISTRICT COURT
                                         Eastern              District of            Tennessee                                        (Agency: DEA)


        UNITED STATES OF AMERICA
                                                                                            WARRANT FOR ARREST
                               V.
        MICHAEL WILLIAM SPROLES                                         Case Number: 2:19-CR- ) 4f.f£EIVED BY:1\1-A)l
                                                                                        SEALEDOATE:          \.a-.        \c. dOl\                    TIMEY6:) -·

To: The United States Marshal                                                                                U.S. MARSHAL E/TN
    and any Authorized United States Officer                                                                  GREENEVILLE, TN



            YOU ARE HEREBY COMMANDED to arrest                                          MICHAEL WILLIAM SPROLES
                                                                                                             Name

and bring him or her forthwith to the nearest magistrate judge to answer a(n)

x Indictment        •   Information        D Complaint   •   Order of   D Probation                •   Supervised Release                         •     Violation
                                                             court        Violation                    Violation Petition                               Notice
                                                                          Petition

charging him or her with:
Conspiracy to distribute 50 grams or more ofmethamphetamine, a Schedule II controlled substance (21 U.S.C. §§ 846, 841(a)(l) and
(b)(l)(A)); and
Possession of a firearm in furtherance of a drug trafficking offense (18 U.S.C. § 924(c)(l)(A)); and
Being a felon in possession of a firearm (18 U.S.C. § 922(g)(l ))




(as more fully set out in the attached indictment)
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in violation of Title

            JOHN L MEDEARIS 1 CLERK


                                                                            illic ./ Q,
                                                                            Date and Location
                                                                                                2019 at ~reeneville,' Tennessee




                                                                  RETURN
   This warrant was received and executed with the arrest of the above-named defendant at


                                                                                     SIGNATURE OF ARRESTING OFFICER




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